Case 22-18303-JKS           Doc 158     Filed 09/22/23 Entered 09/22/23 14:10:24                   Desc Main
                                       Document      Page 1 of 4



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)
     UNITED STATES DEPARTMENT OF JUSTICE
     OFFICE OF THE UNITED STATES TRUSTEE
     ANDREW R. VARA
     UNITED STATES TRUSTEE, REGIONS 3 AND 9
     Peter J. D’Auria, Esq. (PD 3709)
     One Newark Center, Suite 2100
     Newark, NJ 07102
     Telephone: (973) 645-3014
     Fax: (973) 645-5993
     E-Mail: Peter.J.D’Auria@usdoj.gov

                                                                       Chapter 11
     In Re:                                                            Case No. 22-18303(JKS)
                                                                       (Jointly Administered)
     Alexandre Dacosta and Viviane Antunes, et al. 1,
                                                                       Hearing Date: Sept. 26, 2023 at 10:00 a.m.

     Debtors.                                                          Judge: John K. Sherwood Chapter 11


                                   CERTIFICATION OF SERVICE

1.       I, Angeliza Ortiz-Ng:

       ■ am the paralegal specialist for Peter J. D’Auria, Esq. who represents the United States
Trustee in the above captioned matter.

2.       On September 22, 2023, a copy of the following pleading was served by e-mail (as

indicated below) by Peter J. D’Auria, Esq., and I caused a copy to be served by mail (as

indicated below) via BMC, Inc. an Approved Bankruptcy Notice Provider, of the following

pleadings and/or documents to the parties listed in the chart below.

                •   Reply of the United States Trustee to the Verified Application of Debtor in
                    Opposition to the U.S. Trustee’s Motion to Convert the Case of BAV Auto,
                    L.L.C. to Chapter 7, or in the Alternative, to Dismiss the Bankruptcy Case and
                    Granting Related Relief.


1
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
Case 22-18303-JKS      Doc 158     Filed 09/22/23 Entered 09/22/23 14:10:24           Desc Main
                                  Document      Page 2 of 4



3.     I hereby certify under penalty of perjury that the above documents were sent using the

mode of service indicated.

       Dated: September 22, 2023                   /s/ Angeliza Ortiz-Ng
                                                   Angeliza Ortiz-Ng
                                                   Paralegal Specialist

 Name and Address of Party Served              Relationship     Mode of Service
                                               of Party to
                                               the Case
 Alexandre J. Dacosta and                      Individual       □ Hand-delivered
 Vivianne C. Antunes                           Debtors          ■ Regular mail
 80 Columbia Avenue                                             □ Certified mail/RR
 Kearny, NJ 07032                                               □ E-mail
                                                                □ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 BAV Auto, LLC                                 Corporate        □ Hand-delivered
 80 Columbia Avenue                            Debtor           ■ Regular mail
 Kearny, NJ 07032                                               □ Certified mail/RR
                                                                □ E-mail
                                                                □ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 John O’Boyle, Esq.                            Counsel to       □ Hand-delivered
 Norgaard O’Boyle & Hannon                     Individual       ■ Regular mail
 184 Grand Avenue                              Debtors          □ Certified mail/RR
 Englewood, NJ 07631                                            ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 Steven D. Pertuz, Esq.                        Counsel to       □ Hand-delivered
 Law Offices of Steven D. Pertuz, Esq.         Corporate        ■ Regular mail
 111 Northfield, Avenue, Suite 304             Debtor           □ Certified mail/RR
 West Orange, NJ 07052                                          ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
 Mark Politan, Esq.                            Subchapter V     □ Hand-delivered
 Politan Law, LLC                              Trustee          ■ Regular mail
 88 East Main Street, # 502                                     □ Certified mail/RR
 Mendham, NJ 07945                                              ■ E-mail
                                                                ■ Notice of Electronic Filing
                                                                (NEF)
                                                                □ Other: facsimile
Case 22-18303-JKS     Doc 158      Filed 09/22/23 Entered 09/22/23 14:10:24      Desc Main
                                  Document      Page 3 of 4



 Joseph H. Lemkin, Esq.                      Counsel to    □ Hand-delivered
 Stark & Stark                               Auction       ■ Regular mail
 P.O. Box 5315                               Credit        □ Certified mail/RR
 Princeton, NJ 08543                         Enterprises   ■ E-mail
                                                           ■ Notice of Electronic Filing
                                                           (NEF)
                                                           □ Other: facsimile
 Drew S. McGehrin, Esq.                      Counsel to    □ Hand-delivered
 Duane Morris LLP                            Vero Finance ■ Regular mail
 30 S. 17th Street                           Technologies, □ Certified mail/RR
 Philadelphia, PA 19103                      Inc.          ■ E-mail
                                                           ■ Notice of Electronic Filing
                                                           (NEF)
                                                           □ Other: facsimile
 Regina Cohen, Esq.                          Counsel to    □ Hand-delivered
 Lavin, Cedrone, Graver, Boyd & DiSipio      Westlake      ■ Regular mail
 190 North Independence Mall West            Flooring      □ Certified mail/RR
 Suite 500                                   Services      ■ E-mail
 6th and Race Streets                                      ■ Notice of Electronic Filing
 Philadelphia, PA 19106                                    (NEF)
                                                           □ Other: facsimile
 John R. Morton, Jr., Esq.                   Counsel to    □ Hand-delivered
 Morton & Craig, LLC                         Thrift        ■ Regular mail
 110 Marter Avenue, Suite 301                Investment    □ Certified mail/RR
 Moorestown, NJ 08057                        Corporation   ■ E-mail
                                                           ■ Notice of Electronic Filing
                                                           (NEF)
                                                           □ Other: facsimile
 Douglas McDonough, Esq.                     Counsel to    □ Hand-delivered
 Frenkel Lambert Weiss                       Bank of       ■ Regular mail
 Weisman & Gordon, LLP                       America, NA □ Certified mail/RR
 80 West Main Street, Suite 460                            ■ E-mail
 West Orange, NJ 07052                                     ■ Notice of Electronic Filing
                                                           (NEF)
                                                           □ Other: facsimile
 Synchrony Bank                              Creditor      □ Hand-delivered
 c/o PRA Receivables Management, LLC                       ■ Regular mail
 P.O. Box 41021                                            □ Certified mail/RR
 Norfolk, VA 23541                                         ■ E-mail
                                                           □ Notice of Electronic Filing
                                                           (NEF)
                                                           □ Other: facsimile
Case 22-18303-JKS    Doc 158    Filed 09/22/23 Entered 09/22/23 14:10:24       Desc Main
                               Document      Page 4 of 4



 Philip Raymond, Esq.                     Counsel to     □ Hand-delivered
 McCalla Raymer Leibert Pierce, LLC       JPMorgan       ■ Regular mail
 485F US Highway 1 S, Suite 300           Chase Bank,    □ Certified mail/RR
 Iselin, NJ 08830                         NA             ■ E-mail
                                                         ■ Notice of Electronic Filing
                                                         (NEF)
                                                         □ Other: facsimile
 Donna L. Thompson, Esq.                  Counsel to     □ Hand-delivered
 P.O. Box 679                             Automotive     ■ Regular mail
 Allenwood, NJ 08720                      Finance Corp   □ Certified mail/RR
                                                         ■ E-mail
                                                         □ Notice of Electronic Filing
                                                         (NEF)
                                                         □ Other: facsimile
